                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF LOUISIANA

WARREN SOILEAU, DANNY NEAL,                           §      C/A NO. 2:20-cv-00484
DEXTER NEAL, PAUL CHAMPAGNE,                          §
JEREMY MARSHALL, RYAN                                 §      JUDGE GUIDRY
GUTHRIE, ROLAND THIBODEAUX,                           §
COLBY PEREZ, BRYCE DAIGLE, ERIC                       §      MAG. ROBY
HILLHOUSE, BRADLY BISHOP,                             §
BRANDON BONONA, AND                                   §
HARRY SMITH                                           §
                                                      §
VS.                                                   §
                                                      §
GPS MARINE, LLC, M /V T.W.                            §
BOUDREAUX, M/V DEVIN                                  §
SCHIEFFLER, M/V CAPT. VINCE                           §
GAMBARELLA, and M/V CAPT.                             §
RUSSEL L

                           MOTION FOR WRIT OF ATTACHMENT

          COMES NOW, by and through undersigned counsel, Plaintiffs, Warren Soileau et al, the

former employees of GPS Marine, LLC who respectfully suggests to this Honorable Court that

the Verified Complaint and attached Verification filed herein set forth the conditions for an

action in rem pursuant to Rule C of the Supplemental Rules for Admiralty or Maritime Claims

and Asset Forfeiture Actions. Therefore, Plaintiffs respectfully requests this Court to issue a

warrant for the arrest of the M/V Capt. Vince Gambarella (bearing USCG number 646701), M/V

Russel L (bearing USCG number 538160) and M/V Devin Schieffler (bearing USCG Number

555706), their engines, tackle, apparatus, rigging, bunkers, furnishings, and fixtures (the

“Vessels”).

          Plaintiffs agree to hold harmless and indemnify the United States of America, the United

States Marshall, their agents, servants, employees and all others for whom they are responsible,

from any and all liability or responsibility for claims arising from the arrest or attachment of the

Vessel.
       WHEREFORE, Plaintiffs respectfully move this Honorable Court to issue an order for a

Warrant of Arrest of the M/V Capt. Vince Gambarella (bearing USCG number 646701), M/V

Russel L (bearing USCG number 538160) and M/V Devin Schieffler (bearing USCG Number

555706) wherever they may be found in the Eastern District of Louisiana.

                                       COSSICH, SUMICH, PARSIOLA
                                       & TAYLOR, L.L.C.

                                       BY:      /s/ Andrew J. Cvitanovic
                                             PHILIP F. COSSICH, JR., #1788 (T.A.)
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                                             ANDREW J. CVITANOVIC #34500
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                               CERTIFICATE OF SERVICE

              I hereby certify that on the 7th day of May 2020, I electronically filed the

foregoing with the Clerk of Court by using the CM/ECF system which will send a notice of

electronic filing to all counsel of record. A copy has also been sent to GPS Marine, LLC by

electronic transmission and US Mail.

                                                            /s/ Andrew J. Cvitanovic
